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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


 FEDERAL TRADE COMMISSION,
                                                          Case No. 3:19-cv-02281-K
         Plaintiff,
                                                          Plaintiff Federal Trade Commission’s
    v.                                                    Witness List

 MATCH GROUP, INC., a corporation,                        FILED UNDER SEAL
 MATCH GROUP, LLC, formerly known as
 MATCH.COM, LLC, a limited liability
 company,

         Defendants.

         Pursuant to the Court’s Amended Scheduling Order (Doc. 279), Plaintiff Federal Trade

 Commission submits the following Witness List. The Federal Trade Commission may call the

 following witnesses to testify, either in person or by deposition, in their case-in-chief or in

 rebuttal to Defendants Match Group, Inc. (“MGI”) and Match Group, LLC (“MGLLC”)’s case-

 in-chief.

         Plaintiff’s Witness List is submitted without prejudice to the Plaintiff’s right to modify it

 based on the witnesses designated by Defendants; the evidence introduced or proffered by

 Defendants at trial; for purposes of resolving evidentiary issues, including to testify regarding the

 authenticity of or foundation for exhibits to the extent the parties cannot agree on such issues;

 and for purposes of impeachment.

         The FTC reserves the right to amend or supplement this list in light of any case

 developments, including any rulings by the Court, any change in position or theories by

 Defendants or their witnesses, Plaintiff’s review of Defendants’ pre-trial disclosures, and any

 additional documents or information produced. Plaintiff also reserves the right to use deposition




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 testimony given by any witness whose testimony may be used at trial pursuant to Federal Rule of

 Civil Procedure 32. In the event that Defendants object to the FTC’s use of its deposition

 designations at trial, the FTC reserves the right to call the deponent to provide live testimony.

           The FTC further reserves the right to update the subjects on which the persons identified

 as witnesses may testify based on new information (including any newly produced documents)

 and to question the persons identified herein on any topics on which that person testified in a

 deposition or regarding any matter that is discussed in any document to which that person had

 access and that is designated as an exhibit by either party.

           I.     PROBABLE WITNESSES

                Witness         Address           Summary of Testimony              Expected
                                                                                    Duration
      1.        Dushyant       8750 N        Mr. Saraph’s testimony will           Direct
                 Saraph        Central       include coverage of the same          examination:
                              Expy, Suite    subjects addressed when he served     12 hours
                                1400,        as MGLLC’s 30(b)(6)
                              Dallas, TX     representative and those covered      Cross
                                75231        during his individual deposition.     examination:
                                             He will testify to his duties and     6 hours
                                             responsibilities during his
                                             employment by Defendants
                                             relating to Match.com. He will
                                             address the ownership and control
                                             of Match.com, and Match.com’s
                                             relationship to MGLLC, Match
                                             Group North America (“MGNA”),
                                             MGI, and the Evergreen and
                                             Emerging Brands (“E&E”). He
                                             will testify to the identities and
                                             responsibilities of MGI and
                                             MGLLC Executives and
                                             employees. He will testify
                                             concerning the features and
                                             content of the Match.com website,
                                             including relating to subscription
                                             cancellation mechanisms. He will
                                             further discuss the Match.com
                                             website design, user interface, and



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                                         typical user experience. He will
                                         discuss Match.com’s practices and
                                         procedures concerning A/B testing
                                         and the company’s use of data
                                         analytics. Mr. Saraph will explain
                                         Match.com’s policies and
                                         procedures, including specifically
                                         relating to the Match Guarantee,
                                         consumer chargebacks refund
                                         requests, consumer complaints,
                                         and subscription cancellation. He
                                         will testify concerning data
                                         produced by Defendants, including
                                         related to cancellation mechanisms
                                         and consumer subscription
                                         cancellations, the Match
                                         Guarantee, Match.com’s revenue
                                         and profits, chargebacks,
                                         chargeback data. He will testify
                                         concerning revenue and profit for
                                         MGLLC. He will also testify
                                         concerning the marketing of the
                                         Match Guarantee. He will testify
                                         concerning MGLLC’s discovery
                                         responses and MGI’s response to
                                         the FTC’s Civil Investigative
                                         Demand.
     2.   Adrian Ong         830         Adrian Ong’s testimony will             Direct
                          Bentwater      include the subjects covered in his     examination:
                           Drive,        deposition testimony. He will           4 hours
                          Allen, TX      address his positions, duties, and
                           75002         responsibilities relating to            Cross
                                         Defendants and Match.com and            examination:
                                         his corporate chain of command          1 hour
                                         during his employment. He will
                                         explain MGLLC’s operations and
                                         its policies and procedures,
                                         including relating to customer
                                         service, the Match Guarantee,
                                         payments and chargebacks, and
                                         cancellation. He will further testify
                                         concerning the Match.com website
                                         interface and user experience.
     3.   Kris Auderer     1801 N        Ms. Auderer’s testimony will            Direct
                         Pearl Street,   include the subjects covered in her     examination:
                          Apt. 2204,     deposition testimony. She will          6 hours


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                       Dallas, TX    describe her duties and
                         75201       responsibilities while employed at     Cross
                                     MGLLC, her corporate chain of          examination:
                                     command, and her understanding         3 hours
                                     of MGLLC’s operations. She will
                                     discuss Defendants’ policies and
                                     procedures, including relating to
                                     the Match Guarantee, cancellation,
                                     and refunds. She will testify
                                     concerning the operation of
                                     Defendants’ customer care
                                     department. She will testify
                                     concerning various presentations
                                     she created and made during her
                                     time employed by Defendants. She
                                     will discuss proposals she made
                                     concerning changes to the website.
     4.     Mandy         5552       Ms. Ginsberg’s testimony will          Direct
           Ginsberg     Nakoma       include the subjects address in        examination:
                         Drive,      deposition testimony. She will         4 hours
                       Dallas, TX    discuss MGI, MGNA, and
                         75209       MGLLC’s operations,                    Cross
                                     revenues/profits, and ownership,       examination:
                                     as well as their role in the           2 hours
                                     operation of Match.com. She will
                                     testify concerning her work history
                                     and responsibilities, including her
                                     time as an executive at MGLLC
                                     and MGI, and her corporate chain
                                     of command. She will discuss
                                     Match.com’s website design and
                                     user interface/experience,
                                     including as it relates to practices
                                     alleged in the complaint. She will
                                     discuss Defendants’ policies and
                                     procedures relating to customer
                                     service, refunds, the Match
                                     Guarantee, chargebacks, and
                                     subscription cancellation. She will
                                     further establish MGI’s knowledge
                                     of the alleged practices.
     5.    Hesam        8750 N       Mr. Hosseini will testify              Direct
           Hosseini     Central      concerning his employment              examination:
                       Expy, Suite   history and responsibilities as        3 hours
                         1400,       Defendants’ employee. He will
                                     testify concerning Defendants’


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                       Dallas, TX    corporate structure,                  Cross
                         75231       revenue/profits, operations, and      examination:
                                     the relationship of Match.com to      1 hour
                                     MGLLC, MGI, MGNA, and E&E.
                                     He will testify concerning
                                     Defendants’ use of A/B testing and
                                     website analytics, the design and
                                     features of Match.com, and the
                                     companies’ policies and
                                     procedures relating to the alleged
                                     practices.
     6.    Jon Caine    8750 N       Mr. Caine’s testimony will include    Direct
                        Central      the subjects addressed in his         examination:
                       Expy, Suite   deposition. He will testify           3 hours
                         1400,       concerning his employment
                       Dallas, TX    history, the operations of his        Cross
                         75231       department, responsibilities as       examination:
                                     Defendants’ employee, and chain       1 hour
                                     of command. He will discuss
                                     policies and procedures relating to
                                     his various positions, product
                                     analytics and A/B testing,
                                     Match.com website
                                     features/design, and the
                                     Match.com user interface and user
                                     experience.
     7.     Giridhar   1009 Ridge    Mr. Tandri’s testimony will           Direct
             Tandri    Hollow Trl,   include the subjects addressed in     examination:
                       Irving, TX    his deposition. He will discuss       2 hours
                         75063       policies and procedures relating to
                                     his various positions, product        Cross
                                     analytics and A/B testing,            examination:
                                     Match.com website                     1 hour
                                     features/design, and the
                                     Match.com user interface and user
                                     experience. He will further testify
                                     concerning his employment
                                     history, the operations of his
                                     department, responsibilities as
                                     Defendants’ employee, and chain
                                     of command.
     8.    Elizabeth     230 S       Ms. Miles will testify concerning     Direct
          Anne Miles   Dearborn St   the FTC’s calculations of             examination:
                         #3030,      monetary relief and civil penalties   2 hours
                       Chicago, IL   related to practices described in
                         60604       Count V, including calculations


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                                      related to success rates of            Cross
                                      Match.com’s online cancellation        examination:
                                      flow.                                  1 hour
     9.    Jim Talbott     8750 N     Mr. Talbott will testify concerning    Direct
                           Central    his employment history and             examination:
                         Expy, Suite responsibilities as Defendants’         3 hours
                            1400,     employee. He will testify to
                          Dallas, TX explain the data produced by            Cross
                            75231     Defendants in response to the          examination:
                                      FTC’s CID and in response to           1 hour
                                      discovery requests. He will further
                                      testify concerning Defendants’ use
                                      of data analytics and the Match
                                      Guarantee.
     10.   Jared Sine      8750 N     Mr. Sine will testify concerning       Direct
                           Central    his employment history and             examination:
                         Expy, Suite responsibilities as MGI’s General       2 hours
                            1400,     Counsel. He will further testify
                          Dallas, TX concerning Defendants’ policies         Cross
                            75231     and procedures relating to legal       examination:
                                      compliance as it relates to            1 hour
                                      Defendants’ knowledge of law
                                      violations. He will further testify
                                      concerning MGI’s Discovery
                                      responses and MGI’s receipt of,
                                      and responses to, the FTC’s Civil
                                      Investigative Demand.
     11. Gary Swidler      8750 N     Mr. Swidler will testify concerning    Direct
                           Central    his duties and responsibilities        examination:
                         Expy, Suite relating to his employment at MGI       3 hours
                            1400,     and Defendants’ corporate
                          Dallas, TX structure, including specifically       Cross
                            75231     the Evergreen and Emerging             examination:
                                      Brands structure. He will further      1 hour
                                      testify concerning facts relevant to
                                      Defendants’ ability to pay civil
                                      penalties. This will include the
                                      state of Defendants’ finances,
                                      including specifically the revenue
                                      and income for MGI, MGLLC,
                                      and Match.com.
     12.    Michele      201 Lavaca Ms. Watson’s testimony will              Direct
            Watson       Street, Apt. include covering the subjects          examination:
                         233, Austin, addressed in her deposition            2 hours
                          TX 78701 testimony. She will discuss her
                                      employment history at Match,


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                                         including her duties and                Cross
                                         responsibilities and corporate          examination:
                                         chain of command. She will              1 hour
                                         discuss the operations of the
                                         customer care department. She
                                         will discuss Defendants’ policies
                                         and procedures, including relating
                                         to consumer complaints, refunds,
                                         chargebacks, and cancellation. She
                                         will testify concerning the Match
                                         Guarantee and related policies and
                                         testing. She will testify concerning
                                         the Match.com subscription
                                         cancellation process.
     13.        Greg Blatt   9360 Balada Mr. Blatt’s testimony will include      Direct
                               Street,   the same subjects covered in            examination:
                              Miami, FL deposition testimony. He will            3 hours
                                33156    testify concerning his duties and
                                         responsibilities while employed by      Cross
                                         Defendant, MGI’s operations, its        examination:
                                         corporate structure, and                1 hour
                                         involvement in the operations of
                                         Match.com and MGI’s other
                                         dating sites. He will testify
                                         concerning MGI’s authority to
                                         control its subsidiaries and related
                                         dating sites. He will testify
                                         concerning facts establishing
                                         Defendants’ knowledge of the
                                         alleged practices.


          II.      POSSIBLE WITNESSES

                 Witness      Address            Summary of Testimony               Expected
                                                                                    Duration
     1.         Kacy Verdi   1999 Bryan      If called, Ms. Verdi would testify   Direct
                             Street, Suite   concerning the subjects addressed examination:
                                2150,        in her deposition. Ms. Verdi would 2 hours
                             Dallas, TX      testify concerning the FTC’s
                                75201        calculations of monetary relief and Cross
                                             civil penalties related to practices examination:
                                             described in Count V, including      1 hour
                                             calculations related to success
                                             rates of Match.com’s online
                                             cancellation flow.


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     2.      Melissa       3969 Lively   If called, Ms. Clinchy’s testimony     Direct
             Clinchy          Lane,      would include the subjects covered     examination:
                           Dallas, TX    in deposition testimony. She           2 hours
                             75220       would discuss her work history as
                                         Defendants’ employee, her duties       Cross
                                         and responsibilities, and chain of     examination:
                                         command. She would discuss the         1 hour
                                         operations of the customer care
                                         department, including its policies
                                         and procedures and handling of
                                         Match.com consumer complaints.
                                         She would discuss policies and
                                         procedures concerning the Match
                                         Guarantee, refunds, customer
                                         chargebacks, and cancellation. She
                                         would further discuss the design
                                         and user experience relating to the
                                         Match.com website.
     3.   Jiten Vakharia    8750 N       If called, Mr. Vakharia would          Direct
                            Central      testify concerning his employment      examination:
                           Expy, Suite   history at Defendants and the          2 hours
                             1400,       operations of MGLLC and his
                           Dallas, TX    department. He would further           Cross
                             75231       testify concerning the Match.com       examination:
                                         website features/design and user       1 hour
                                         experience and Defendants’ use of
                                         product analytics user interface
                                         and user experience.
     4.   Beth Wilson        206 Fall    If called, Ms. Wilson would testify    Direct
                              Creek      concerning her employment              examination:
                              Drive,     history with Defendants, her           2 hours
                           Richardson,   responsibilities and duties, and the
                            TX 75080     work of her department. She            Cross
                                         would testify concerning user          examination:
                                         interface and experience as it         1 hour
                                         relates to the Match Guarantee and
                                         subscription cancellation.
     5.   Dinh Thi Bui      8750 N       If called, Mr. Bui would testify       Direct
                            Central      concerning his employment by           examination:
                           Expy, Suite   Defendants, including his duties       4 hours
                             1400,       and responsibilities, and the
                           Dallas, TX    operations of his department. He       Cross
                             75231       would further testify concerning       examination:
                                         the Match.com product design and       1 hour
                                         user experience, cancellation




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                                         processes, and A/B testing and
                                         website analytics.
     6.       Pradeep         8750 N     If called, Mr. Shetty would testify   Direct
               Shetty         Central    concerning his employment for         examination:
                            Expy, Suite Defendants and related duties and      3 hours
                               1400,     responsibilities. He would further
                             Dallas, TX testify concerning Defendants’         Cross
                               75231     policies and practices relating to    examination:
                                         payments and chargebacks.             1 hour
     7.      Amarnath           8835     If called, Mr. Thombre would          Direct
             Thombre         Lakemont testify concerning his employment        examination:
                               Drive,    history for Defendants, his duties    2 hours
                             Dallas, TX and responsibilities, and
                               75209     corporate chain of command. He        Cross
                                         would further testify concerning      examination:
                                         MGI’s corporate structure and         1 hour
                                         relationship with its subsidiaries
                                         and related brands. Mr. Thombre
                                         would further testify concerning
                                         Defendants’ discovery responses.
     8.    Brett Richards   1908 Lucille If called, Mr. Richards would         Direct
                               Street,   testify concerning his employment     examination:
                             Dallas, TX history with Defendants, his duties    2 hours
                               75204     and responsibilities, and his
                                         department’s operations, including    Cross
                                         as it relates to product design and   examination:
                                         user experience relating to the       1 hour
                                         Match Guarantee and subscription
                                         cancellation.
     9.    Bret Williams     9320 Long If called, Mr. Williams would           Direct
                               Grove     testify concerning his duties and     examination:
                            Avenue, Las responsibilities as an employee of     2 hours
                             Vegas, NV Defendants and the operations of
                               89149     his department. He would discuss      Cross
                                         Match.com’s design and user           examination:
                                         interface/experience.                 1 hour
     10.       Jessica        8750 N     If called, Ms. Johnson would          Direct
              Johnson         Central    testify concerning her duties and     examination:
                            Expy, Suite responsibilities as an employee of     2 hours
                               1400,     Defendants and the operations of
                             Dallas, TX her department. She would discuss      Cross
                               75231     the features and design of            examination:
                                         Match.com website relating to her     1 hour
                                         position. She would discuss A/B
                                         testing and website analytics, and
                                         Match.com’s cancellation flow.


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      11.      Navin        6200 SW       If called, Mr. Ramachandran             Direct
            Ramachandran   River Road,    would testify concerning his            examination:
                            Hillsboro,    employment history, chain of            2 hours
                            OR 97123      command, and duties and
                                          responsibilities as Defendants’         Cross
                                          employee. He would testify              examination:
                                          concerning MGI’s corporate              1 hour
                                          structure, and its involvement in
                                          the operations of its subsidiaries
                                          and related brands. He would
                                          testify concerning Defendants’
                                          policies and procedures, user
                                          experience, refund policy, and
                                          cancellation practices.
      12. Sydney Lam          14735       If called, Mr. Lam would testify        Direct
                           Stanford Ct,   concerning his employment               examination:
                           Dallas, TX     history, duties and responsibilities,   2 hours
                              75242       and corporate chain of command.
                                          He would discuss Defendants’            Cross
                                          policies and procedures and             examination:
                                          consumer complaints. He would           1 hour
                                          discuss the Match.com product
                                          design and user
                                          interface/experience. He would
                                          further testify concerning the
                                          practices described in Counts III
                                          and V.
      13. Steven Bailey      8750 N       If called, Mr. Bailey would testify     Direct
                             Central      concerning facts relevant to            examination:
                            Expy, Suite   determine Defendants’ ability to        1 hours
                              1400,       pay the civil penalties sought by
                            Dallas, TX    the FTC. Specifically, Mr. Bailey       Cross
                              75231       would provide information               examination:
                                          concerning revenue and profits for      1 hour
                                          MGI, MGLLC, and Match.com’s.
                                          Mr. Bailey would further testify
                                          concerning the Match.com website
                                          and cancellation flow.
      14.      Philip        8750 N       If called, Mr. Eigenmann would          Direct
             Eigenmann       Central      testify concerning facts relevant to    examination:
                            Expy, Suite   determine Defendants’ ability to        1 hours
                              1400,       pay the civil penalties sought by
                            Dallas, TX    the FTC. Specifically, Mr.              Cross
                              75231       Eigenmann would provide                 examination:
                                          information concerning revenue          1 hour




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                                         and profits for MGI, MGLLC, and
                                         Match.com’s.
      15. Jayant Dasari     8750 N       If called, Mr. Dasari would testify   Direct
                            Central      concerning his corporate chain of     examination:
                           Expy, Suite   command, the design and changes       2 hours
                             1400,       to the Match.com website,
                           Dallas, TX    including the cancellation flow,      Cross
                             75231       and product analytics.                examination:
                                                                               1 hour
      16.   Augustin       3482 Hog      If called, Mr. DuSablon would         Direct
            DuSablon       Market Rd.    testify concerning his personal       examination:
                           Farmville,    experience with the Match.com         1 hour
                           NC 27828      platform, including his efforts to    Cross
                                         cancel his subscription.              examination:
                                                                               30 minutes
      17.   Sharmistha      8750 N       Ms. Dubey’s testimony will            Direct
              Dubey         Central      include the subjects addressed        examination:
                           Expy, Suite   when she served as representative     4 hours
                             1400,       for Defendant MGI’s 30(b)(6)
                           Dallas, TX    deposition. She will testify         Cross
                             75231       concerning her employment            examination:
                                         history and responsibilities. Ms.    2 hours
                                         Dubey will testify concerning
                                         MGI’s operations, its policies and
                                         procedures relating to the practices
                                         in Counts III-V, its executives
                                         (and their identities, duties,
                                         responsibilities, and chain of
                                         command), its corporate structure,
                                         dating sites, and relationship to
                                         subsidiary brands and companies.
                                         She will further testify concerning
                                         the Match.com website features
                                         and design. She will address the
                                         use of product analytics by
                                         Defendants. She will also testify
                                         concerning MGI’s knowledge of
                                         the conduct at issue in the FTC’s
                                         Amended Complaint.




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             III.      EXPERT WITNESS

                                   Witness        Address                Summary of                   Expected
                                                                          Testimony                   Duration
                1.                 Jennifer     1511 Cedar        Ms. King will testify             Direct
                                    King          Street,         concerning the subjects           examination:
                                                 Berkeley,        covered in deposition             8 hours
                                                CA 94703          testimony and the
                                                                  opinions reflected in her         Cross
                                                                  expert reports. She will          examination:
                                                                  testify concerning her            4 hours
                                                                  heuristic analysis and
                                                                  her inspection of
                                                                  Match.com website,
                                                                  including the
                                                                  cancellation flow and
                                                                  related pages. She will
                                                                  testify concerning her
                                                                  opinion on whether the
                                                                  cancellation flow is
                                                                  simple and her reasons
                                                                  for her conclusion.


             IV.       RECORD CUSTODIANS1

                      Witness             Address          Summary of Testimony                      Expected
                                                                                                     Duration
        1.           Jim Elliott       2916 Rosedale       Mr. Elliott would testify as a          Direct
                                          Avenue,          Former Custodian of Records             examination:
                                         Dallas, TX        for the Federal Trade                   1 hour
                                           75205           Commission. He would
                                                           authenticate information and            Cross
                                                           documents produced by MGI               examination:
                                                           in response to the Civil                1 hour
                                                           Investigative Demand issued
                                                           by the FTC to Defendant in
                                                           2017.
        2.         Brent McPeek         1999 Bryan         Mr. McPeek would testify as             Direct
                                        Street, Suite      a Custodian of Records for              examination:
                                                           the Federal Trade                       1 hour

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   The FTC’s time estimates for its document custodians anticipate that the Court will pre-admit exhibits that the
  parties have agreed are admissible, pursuant to the FTC’s request in its Motion in Limine. The FTC will additionally
  seek to submit to the record (for use at closing or in post-trial briefing) and to publish to the Court exhibits that the
  parties agree are relevant or for which relevancy is apparent from the face of the exhibit. Defendants have contended



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                                     2150, Dallas, Commission. He would
                                      TX 75201     testify to the authenticity of              Cross
                                                   records produced to or                      examination:
                                                   created by the FTC, including               1 hour
                                                   web captures. He would
                                                   further testify concerning the
                                                   authenticity of publicly
                                                   available documents,
                                                   including SEC filings.
        3.   Taelor Hardesty        751 Harlingen Mr. Hardesty would testify as                Direct
                                    Heights Drive, a Former Custodian of                       examination:
                                    Harlingen, TX Records for the Federal Trade                1 hour
                                        78552      Commission. He would
                                                   testify concerning the                      Cross
                                                   authenticity of records,                    examination:
                                                   including those produced by                 1 hour
                                                   Defendants, created by the
                                                   FTC, or publicly available
                                                   documents that have been
                                                   downloaded or captured by
                                                   the FTC.
        4.    David Beasley           1601 Elm     Mr. Beasley will authenticate               Direct
                                     Street, Suite evidence relating to the                    examination:
                                    1600, Dallas, Better Business Bureau’s                     1 hours
                                      TX 75201     records, including consumer
                                                   complaints.                                 Cross
                                                                                               examination:
                                                                                               1 hour


                                                       Respectfully submitted,

  DATED: May 12, 2025                                  /s/ Reid Tepfer
                                                       REID TEPFER
                                                       M. HASAN AIJAZ
                                                       SARAH ZUCKERMAN (admitted pro hac vice)
                                                       ERICA R. HILLIARD
                                                       JASON MOON
                                                       NICOLE G. H. CONTE (admitted pro hac vice)
                                                       TAMMY CHUNG (admitted pro hac vice)
                                                       Texas Bar No. 24079444 (Tepfer)

  that the FTC should be required to admit each exhibit through live witness testimony—even for exhibits that the
  parties agree are relevant and authentic and to which Defendants have not otherwise objected. The FTC contends
  this is not in the interest of judicial economy, particularly at a bench trial. Should this be required, the FTC
  anticipates that Mr. McPeek, and potentially other document custodians, will need to provide additional testimony,
  which could significantly increase the time needed for their testimony.


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                                      Virginia Bar No. 80073 (Aijaz)
                                      New York Bar No. 5603832 (Zuckerman)
                                      Mississippi Bar No. 104244 (Hilliard)
                                      Texas Bar No. 24001188 (Moon)
                                      Virginia Bar No. 91552 (Conte)
                                      New York Bar No. 5745476 (Chung)
                                      Federal Trade Commission
                                      1999 Bryan St. Ste. 2150
                                      Dallas, Texas 75201
                                      T: (214) 979-9395 (Tepfer)
                                      T: (214) 979-9386 (Aijaz)
                                      T: (214) 979-9376 (Zuckerman)
                                      T: (214) 979-9379 (Hilliard)
                                      T: (214) 979-9378 (Moon)
                                      T: (202) 285-0062 (Conte)
                                      T: (202) 676-7541 (Chung)
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                                  CERTIFICATE OF SERVICE


         On May 12, 2025, I filed the foregoing document with the clerk of court for the U.S.

  District Court, Northern District of Texas. I hereby certify that I have served the document on

  counsel by a manner authorized by Federal Rule of Civil Procedure 5(b)(2).



                                                                      /s/ Reid Tepfer
                                                                      REID TEPFER




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